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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10        LAUREL PARK TOWNHOMES
          ASSOCIATION ,                                        CASE NO. 2:23-cv-01876-GJL
11
                                Plaintiff,                     ORDER
12                v.

13        WESTCHESTER FIRE INSURANCE
          COMPANY, et al.,
14
                                Defendants.
15
            Before the Court is this civil action for declaratory judgment and monetary damages. See
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     Dkt. 1. On March 25, 2024, Plaintiff Laurel Park Townhomes Association filed a Notice of
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     Voluntary Dismissal as to Defendant Westchester Fire Insurance Company (“Westchester Fire”).
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     Dkt. 13. In the Notice, Plaintiff asserts that, pursuant to Federal Rule of Civil Procedure 41(a), it
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     dismisses its claim against Defendant Westchester Fire. Id. at 1–2. Further, as no other
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     Defendants remain in this lawsuit other than Doe Insurance Companies 1–10, which Plaintiff
21
     dismisses without prejudice and without costs, Plaintiff requests that this case be closed. Id. at 2.
22
     //
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     ORDER - 1
                 Case 2:23-cv-01876-GJL Document 14 Filed 03/29/24 Page 2 of 2




 1         Upon review of the Motion and relevant record, the Court hereby ORDERS the Clerk of

 2   Court to CLOSE this case.

 3         Dated this 29th day of March, 2024.

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 5                                                  A
 6                                                  Grady J. Leupold
                                                    United States Magistrate Judge
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     ORDER - 2
